 After Remand from the Alabama Supreme Court
This court affirmed the juvenile court's judgment, without an opinion. A.S. v. I.M.S.
(No. 2090774, Nov. 19, 2010), ___ So. 3d ___(Ala. Civ. App. 2010) (table). The *Page 2 
judgment of this court has been reversed, and the cause remanded by the Supreme Court of Alabama. See Ex parte A.S., [Ms. 1100238, May 13, 2011] ___ So. 3d ___ (Ala. 2011). On remand to this court, and in compliance with the Supreme Court's opinion, the juvenile court's judgment terminating the parental rights of A.S. is hereby reversed, and the cause is remanded for the entry of a judgment consistent with the Supreme Court's opinion.
REVERSED AND REMANDED.
Thompson, P.J., and Pittman, Bryan, and Thomas, JJ., concur. *Page 1 